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                               UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                             CASE NO.:


  SECURITIES AND EXCHANGE COMMISSION,

          Plaintiff,

  V.



  PALM HOUSE HOTEL LLLP,
  SOUTH ATLANTIC REGIONAL CENTER,LLC,
  JOSEPH J. WALSH,SR., and
  ROBERT V. MATTHEWS,

          Defendants, and

  160 ROYAL PALM,LLC and
  UNITED STATES REGIONAL ECONOMIC DEVELOPMENT AUTHORITY LLC
  D/B/A/ EB5 PETITION,

          Relief Defendants.



                                            COMPLAINT


          Plaintiff Securities and Exchange Commission alleges:

  1.     INTRODUCTION


          1.     The Commission brings this action against Palm House Hotel LLLP ("PHH"),

  South Atlantic Regional Center, LLC ("SARC"), Joseph J. Walsh, Sr., and Robert V. Matthews

  ('"Defendants") for violating the antifraud provisions ofthe federal securities laws.

         2.      Since 2012, Walsh, his entities, and Matthews defrauded investors participating in

  the Immigrant Investor Program ("EB-5 Program") administered by the United States

  Citizenship and Immigration Services("USCIS"). The EB-5 Program provides foreign nationals

  the opportunity to qualify for permanent residency in the United States through an investment of




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  money in projects in the United States which, among other things, create a certain number of

  jobs.

          3.     From November 2012 to March 2015, PHH offered and sold at least $43,991,458

  in PHH securities to at least 88 foreign investors through the EB-5 Program. The offering

  materials provided to investors represented that PHH would loan investor funds to Palm House

  LLC("Palm House") to acquire, develop, and operate the Palm House Hotel ("Hotel") located in

  Palm Beach, Florida. Instead, Walsh and Matthews misappropriated a significant portion of the

  investor funds. Walsh, PHH, and SARC also made false and materially misleading statements

  regarding:(1) the use of investor funds;(2) the use of an escrow account to hold investor funds

  prior to disbursement to Palm House; (3) the existence of conditions precedent to the

  advancement of loan disbursements to Palm House;(4) the guaranteed return of investors' funds

  if their 1-526 petitions (Immigrant Petition by Alien Entrepreneur) were denied;(5) Walsh and

  Matthews' backgrounds; (6) the preparation and periodic disclosure to investors of PHH

  financial reports;(7) Palm House's repayment of the loan in monthly installments; and (8)Palm

  House's purported ownership of and investment in the Hotel prior to the commencement of the

  PHH offering.        Matthews participated in the scheme and, with the exception of

  misrepresentations (2), (4) and (6) above, aided and abetted Walsh and his entities in making

  these material misrepresentations and omissions. To date, the Hotel has not been completed and

  is subject to a foreclosure suit and receivership.

          4.     By engaging in this conduct,(a) PHH, SARC, and Walsh violated Section 17(a)

  of the Securities Act of 1933 ("Securities Act"), 15 U.S.C. § 77q(a), and Section 10(b) of the

  Securities Exchange Act of 1934 ("Exchange Act"), 15 U.S.C. § 78j(b), and Exchange Act Rule

  lOb-5, 17C.F.R. §240.10b-5; and (b) Matthews violated Sections 17(a)(1) and (a)(3) of the

  Securities Act, 15 U.S.C. §§77q(a)(l) and (a)(3), and Section 10(b) of the Exchange Act, 15

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  U.S.C. § 78j(b), and Exchange Act Rules 10b-5(a) and (c), 17 C.F.R. §§ 240.10b-5(a) and (c),

  and aided and abetted PHH, SARC, and Walsh's violations of Section 17(a)(2) of the Securities

  Act, 15 U.S.C. § 77q(a)(2), and SectionlO(b) of the Exchange Act, 15 U.S.C. § 78j(b), and

  Exchange Act Rule 10b-5(b), 17 C.F.R. § 240.]0b-5(b).

         5.      Unless restrained and enjoined, Defendants are reasonably likely to continue to

  violate the federal securities laws.


  II.    DEFENDANTS AND RELIEF DEFENDANTS


         A.      Defendants


         6.      PHH is a Florida limited liability limited partnership located in Royal Palm

  Beach, Florida. PHH offered limited partnership interests to investors in $500,000 increments.

  Investor funds were to be loaned to Palm House to acquire, develop, and operate the Hotel.

  SARC is the general partner of PHH. Walsh,through his control of SARC,controlled PHH.

         7.      SARC is a Florida limited liability company located in Royal Palm Beach,

  Florida. SARC is a USCIS designated Regional Center. From its inception in June 2010 to at

  least April 2016, Walsh was the manager of SARC. Thereafter, USREDA Holdings LLC,

  another Walsh managed and controlled company, became the manager of SARC.

         8.      Walsh is a resident of Royal Palm Beach, Florida. During the relevant time,

  Walsh was the manager of SARC and United States Regional Economic Development Authority

  LLC d/b/a/ EB5 Petition ("USREDA"), the managing member of USREDA Holdings LLC, and

  controlled each ofthese entities and PHH.


         9.      Matthews is a resident of Palm Beach, Florida. Matthews controlled Palm House

  and 160 Royal Palm, LLC ("160 Royal"), the entity that owns the Hotel, and controlled the day-

  to-day operations of the Hotel.        Matthews also controlled two other entities that he used,

  respectively, to purchase real estate with misappropriated investor funds and to title and pay for


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  expenses associated with a 151-foot yacht. In addition, Matthews also directed the transfer of

  investor funds that, through a series of transactions, were used to purchase his former home in

  Connecticut out of foreclosure or otherwise benefit the home. In November 2017, Matthews

  filed for Chapter 11 bankruptcy. In re Matthews. No. 17-23426 (Bankr. S.D. Fla. filed Nov. 6,

  2017). In March 2018, a federal grand jury returned an indictment against Matthews, charging

  him with, among other things, wire and bank fraud in connection with his activities related to

  PHH and Palm House. United States v. Matthews. No. 3:18-cr-00048-SRU (D. Conn, filed Mar.

  14,2018).

          B.    Relief Defendants


          10.   160 Royal is a Florida limited liability company located in Palm Beach, Florida.

  160 Royal owns the Hotel.       A real estate developer ("Developer") owned 100% of the

  membership interest in 160 Royal until August 30, 2013, when he assigned his interest to Palm

  House in exchange for 160 Royal granting Developer a $27,468,750 mortgage on the Flotel.

  Subsequent to this transaction, Matthews controlled 160 Royal through his control of Palm

  House. 160 Royal received investor funds, some of which were misappropriated by Matthews.

          11.   USREDA is a Delaware limited liability company located in Royal Palm Beach,

  Florida. Walsh controlled and was the manager of USREDA from its inception in August 2012

  until April 2016, when USREDA Holdings LLC became the manager of USREDA. USREDA

  handles business activities and USCIS petition work for PHH and other SARC-associated

  offerings. USREDA received investor funds which were fraudulently obtained by Walsh and his

  entities.




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  III.   JURISDICTION AND VENUE


         12.     This Court has jurisdiction over this action pursuant to Sections 20(b), 20(d)(1),

  and 22(a) ofthe Securities Act, 15 U.S.C. §§ 77t(b), 77t(d)(l), and 77v(a); and Sections 21(d)(1)

  and 27(a) of the Exchange Act, 15 U.S.C. §§ 78u(d)(l)and 78aa(a).

         13.     The court has personal jurisdiction over Defendants and Relief Defendants and

  venue is proper in the Southern District of Florida because Defendants and Relief Defendants

  reside or transact business in this district and/or participated in the offer or sale of securities in

  this District, and many of the acts and transactions constituting violations of the Securities Act

  and the Exchange Act alleged in this Complaint occurred in this District. In addition, venue is

  proper in this District under 28 U.S.C. § 1391 because a substantial part of the events giving rise

  to the Commission's claims occurred here.

         14.     In connection with the conduct alleged in this Complaint, Defendants, directly

  and indirectly, singly or in concert with others, have made use of the means or instrumentalities

  of interstate commerce, the means or instruments of transportation and communication in

  interstate commerce, and the mails.

  IV.    THE EB-5 PROGRAM


         15.     Congress created the EB-5 Program in 1990 in an effort to boost the United States

  economy. The EB-5 program provides a prospective immigrant the opportunity to become a

  permanent resident by investing in the United States.

         16.     To qualify for an EB-5 visa, a foreign applicant must invest $500,000 or %1

  million (depending on the type of investment) in a commercial enterprise approved by the U.S

  Citizenship and immigration Service ("Immigration Service"). Once the foreign applicant has

  invested, he or she may apply for a conditional green card, which is good for two years. If the

  investment creates or preserves at least ten jobs during those two years, the foreign applicant


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  may apply to have the conditions removed from his or her green card. The applicant can then

  live and work in the United States permanently.

         17.    A certain number of EB-5 visas are set aside for prospective immigrants who

  invest through a Regional Center, such as SARC. An applicant only has to invest $500,000 if he

  or she invests through a Regional Center, such as SARC.

  V.     FACTUAL BACKGROUND


         A.     The Hotel


         18.    In August 2006, Matthews purchased the Hotel through his ownership of an

  entity. In 2009, that entity lost the Hotel via foreclosure and Developer acquired it through his

  ownership of 100% of the membership interest in 160 Royal. On August 30, 2013, Developer

  assigned his 100% membership interest in 160 Royal to Palm House. Matthews' brother, Gerry

  Matthews("0. Matthews") assumed a 99% membership interests in Palm House as nominee for

  Matthews, who actually controlled Palm House. Another individual, "R.B.," assumed a 1%

  membership interest in Palm House.

         B.     PHH's EB-5 Securities Offering


         19.    From November 2012 until March 2015, PHH raised at least $43,991,458 in

  investor funds from at least 88 foreign investors through an EB-5 offering of PHH limited

  partnership interests. The offering materials provided to investors represented that PHH would

  loan investor funds to Palm House to acquire, develop, and operate the Hotel.

         20.     Walsh, PHH, and SARC disseminated at least three versions of PHH's EB-5

  offering documents and marketing materials (collectively, "offering materials") to investors over

  the years. Each version included a private placement memorandum ("PPM"), to which a

  business plan, loan documents between PHH and Palm House ("loan documents"), a subscription

  agreement, a limited partnership agreement, and an escrow agreement were attached. PHH


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  combined these materials into a multi-hundred page investment portfolio. The investment

  portfolio also contained an "EB-5 Investor Documents & Process Guide," a fee agreement, and a

  USREDA/SARC Service Agreement. To streamline and expedite the closing of an investment,

  PHH provided a booklet which contained only the signature pages of the documents necessary

  for investors to make their investments and file their 1-526 petitions with the USCIS.

          21.    PHH's offering materials also included various versions of a project brochure that

  was translated into Chinese and Farsi ("brochures") and a document titled "EB5 Petition" that

  explained the EB-5 process. PHH's offering materials appeared under some combination of

  PHH,Palm House,SARC,and USREDA's names, and the Hotel and SARC's logos.

          22.    PHH, through Walsh and others, solicited investors through sales agents. PHH

  provided the sales agents with an email that included links to its investment portfolio, the

  brochure, and the "EB5 Petition" document. Each investor or the sales agent for the investor

  received a copy of the relevant offering documents prior to investing.

          23.    Walsh and USREDA's in-house counsel each participated in creating PHH's

  offering materials. The in-house counsel drafted PHH's PPMs, business plans, loan documents

  and subscription, limited partnership, and escrow agreements with information provided by

  Walsh and Matthews. Walsh reviewed and approved all of these documents. Walsh also signed

  some of these documents, including the "EB5 Investor Documents & Process Guide" as

  president and managing partner of SARC and USREDA, the fee agreement as president of

  SARC, and at least one version of the USREDA/SARC Service Agreement on behalf of

  USREDA. Further, Walsh edited, reviewed, and approved various versions of the brochure and

  "EB5 Petition," and signed a letter included in the EB5 Petition as "C.E.O./President USREDA,

  Inc."




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         24.    Matthews directly and indirectly provided information to Walsh and the in-house

  counsel that was included in PHH's PPMs and business plans, and received and reviewed drafts

  of other documents included in the offering materials provided to investors, including the

  brochure.


         25.    As the control person of Palm House, Matthews directed R.B. to sign one version

  of the loan documents as managing member of Palm House because Matthews did not want to

  sign them himself.

         26.     Matthews also met with sales agents, investors, and prospective investors multiple

  times regarding the Hotel project.

         C.      Material Misrepresentations and Omissions to PHH Investors


                1.        MisaDnropriation of Investor Funds bv Walsh. PHH. SARC. and
                          Matthews


         27.    Between November 2012 and at least December 2014, the offering materials

  misrepresented that investor funds would be loaned to Palm House to acquire, develop and

  operate the Hotel.      In reality, PHH, SARC, and Walsh misappropriated approximately

  $13,578,000 of investor funds. First, Walsh kept at least $8,078,000 of investor funds earmarked

  for the Hotel project. Walsh co-mingled these funds with other funds he controlled for his own

  use and to pay expenses unrelated to the Hotel project. Second, in December 2013, Walsh

  loaned Matthews at least $5.5 million of investor funds to save Matthews' personal Palm Beach,

  Florida mansion from foreclosure. The loan, which was undocumented, was never disclosed to

  investors. In March 2014, Matthews sent Walsh an email expressing his "gratitude" for Walsh

  "saving [his] house."

         28.    Between      approximately   June     2014   and   December     2014,    Matthews

  misappropriated at least $3.4 million of investor funds to obtain title for and pay expenses


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  associated with a 151-foot yacht and a piece of property located next to the Hotel. Both were

  titled in the names of entities owned and controlled by a member of Matthews' family.

  Matthews' use of investor funds in this manner was neither permitted by the olTering materials

  nor disclosed to investors.


         29.     Between February 2014 and June 2014, Matthews also directed the transfer of

  approximately $4.5 million of investor funds that, through a series of transactions, were used to

  purchase his former home in Connecticut out of foreclosure and for other related expenses.

  Matthews then extracted $1.2 million from the Connecticut home through a business purpose

  loan secured by the property, from which he and his family received $825,000.

                 2.      Misrenrcsentations Regarding Escrow RcQuiremcnts and the Return
                        of Investor Funds


         30.     Between November 2012 and at least June 2014, PHH's offering materials

  contained material misrepresentations regarding PHH's use of an escrow account for investor

  funds. PHH falsely and fraudulently claimed that investor funds would be held in an escrow

  account at PNC Bank, pursuant to an escrow agreement between PHH, SARC, and PNC Bank,

  through at least the filing of the investor's 1-526 petition. Contrary to these representations, no

  escrow account even existed for investor funds. Prior to the PHH offering, the former CFO for

  SARC and USREDA informed Walsh that the account receiving investor funds would not even

  be administered by PNC Bank.

         31.     PHH's offering materials also contained material misrepresentations regarding the

  return of funds paid by investors. PFIH's PPMs falsely and fraudulently stated that if an

  investor's 1-526 petition were denied by the USCIS for reasons "within the control" of PHH,the

  investor's funds would be returned without deduction. The offering materials and SARC's own

  website also falsely, fraudulently, and repeatedly stated that investors' funds would be returned if



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   their 1-526 petitions were denied generally or without "cure." For example, the brochures slated

   that "[USREDA] and South Atlantic Regional Center offers a 100% Full Refund of all fees and

  investment if your 1-526 is not approved." Some of these documents and SARC's website

  falsely and fraudulently referred to the promise of a return of the funds as a money back

  "guarantee."

          32.     PHH, SARC, and Walsh knew or recklessly disregarded that USREDA and

   SARC would not be able to repay investors whose petitions were denied because they

   misappropriated for their own use millions of dollars of investor funds, and never escrowed

   investor funds prior to their release to Palm House. To date, the USCIS has denied all of the

   investor 1-526 petitions except one, for which it has issued a Notice of Intent to Deny. The

   USCIS denied the 1-526 petitions because, among other reasons, investors failed to demonstrate

   that the Hotel project would create sufficient jobs given the uncertainty of the project's future.

   PHH never returned any money to investors.

                  3.      Misrcnrcscntations and Omissions Regarding Walsh and Matthews*
                         Backgrounds


          33.     PHH's PPMs and business plans contained misrepresentations and omissions

   regarding the backgrounds of Walsh and Matthews, who are both described in a section on

  "Management." The description of Walsh's background, which he drafted, stated that he "has

   extensive experience in merger and acquisition strategy and law" and experience with "the

   intricacies of U.S. Securities and Exchange laws." Walsh did not have any such merger and

   acquisition or securities law experience.

          34.     Matthews was described as the chairman of Matthews Ventures Holdings, LLC

  ("MVH"), a diversified holding company with interests in, among other things, real estate,

   hotels, and construction. However, PHH's PPMs and business plans materially omitted that in



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  2009, one of Matthews' companies, PB Realty Holdings LLC, was placed into involuntary

  bankruptcy with subcontractors obtaining approximately $2 million in judgments against

   Matthews, and that Matthews had lost to foreclosure both his own home, as well as the very

   Hotel in which investors were purportedly investing. Matthews provided his biography to the in-

   house counsel for inclusion in the PPMs.


          35.    The offering materials also included a section on G. Matthews but did not disclose

  that he was a nominee for Matthews in the ownership of the Hotel because of Matthews'

  financial problems, a material omission. Walsh knew G. Matthews was a nominee for Matthews

   because of Matthews' financial problems.

                 4.      Other Misrepresentations to PHH investors


          36.    PHH's offering materials also materially misrepresented the conditions under

   which investor funds would be loaned to Palm House. In particular, the PPMs stated, "it shall be

   a condition of each advance that as of such time there shall not have been a material adverse

   change in the operations, assets or financial condition of the [bjorrower and its subsidiaries,

  taken as a whole." The loan documents made similar representations and stated that the

  determination as to material adverse changes would be made by PHH. Walsh and PHH—which

  loaned at least $30,413,462 of investor funds to Palm House—never ascertained whether Palm

  House met these pre-conditions for any loan advance.

          37.    Matthews' misappropriation of approximately $7.9 million dollars of investor

  funds represented material and adverse changes in the operations, assets, and financial condition

  of Palm House, 160 Royal, and the Hotel, all of which he controlled. Despite being granted the

  authority by the loan documents to access Palm House's financial statements and the right to

  inspect its books and records, PHH never exercised this authority.




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          38.     The offering materials also materially misrepresented that PHH would provide

   audited financial statements or other financial information to investors on an annual or quarterly

   basis. PHH never prepared audited financial statements and did not provide audited statements,

   or any other fmancial reports, to investors.

          39.     The offering materials also misrepresented that Palm House would make monthly

   interest payments to PHH on its loan for five years. Palm House did not make any monthly

   interest payments to PHH.

          40.     In order to bolster investor confidence in PHH's securities offering, PHH's

   business plans and brochures also made materially misleading statements suggesting that Palm

   House had substantial funds at stake in the Hotel, and that investor funds were only part of an

   already well-financed development project. Based on information provided in part by Matthews,

   PHH's business plans falsely and fraudulently represented that Palm House had $22 million in

   equity in the Hotel, and the brochures fraudulently stated the project was "very safe" based in

   part on a substantial equity investment from Palm House. In reality. Palm House acquired the

   Hotel on August 30, 2013 through a $27,468,750 mortgage on the Hotel, with no pre-existing

   equity in the Hotel.

          D.      Relief Defendants


          41.     Matthews controlled 160 Royal and its bank accounts through his control of Palm

   House. During the course of the fraudulent scheme, PHH, Walsh, and SARC advanced millions

   of dollars of investor funds to 160 Royal. During this same time period, Matthews diverted

   millions of dollars ofinvestor funds from 160 Royal to other accounts he controlled.

          42.     Walsh controlled and was the manager of USREDA, which handled business

  activities and USCIS petition work for PHH and other SARC-associated offerings. USREDA




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   received millions of dollars of investor funds which were fraudulently obtained by Walsh and his

   entities.


   VI.     CLAIMS FOR RELIEF


                                               Count!
                         Violations of Section 17(a)<"l) of the Securities Act
                          (Against PHH,SARC, Walsh, and Matthews)

           43.   The Commission repeats and realleges paragraphs 1 through 42 of this Complaint.

           44.   From no later than November 2012 through March 2015, PHH, SARC, Walsh,

   and Matthews, in the offer or sale of securities by use of any means or instruments of

   transportation or communication in interstate commerce or by use of the mails, directly or

   indirectly, knowingly or recklessly employed any device, scheme or artifice to defraud.

           45.   By reason of the foregoing, PHH, SARC, Walsh, and Matthews violated and,

   unless enjoined, are reasonably likely to continue to violate Section 17(a)(1) of the Securities

   Act, 15U.S.C. §77q(a)(l).

                                              Count II
                         Violations of Section 17(a)f2) of the Securities Act
                                (Against PHH,SARC,and Walsh)

           46.   The Commission repeats and realleges paragraphs 1 through 42 of this Complaint.

           47.   From no later than November 2012 through March 2015, PHH, SARC, and

   Walsh, in the offer or sale of securities by use of any means or instruments of transportation or

   communication in interstate commerce or by use of the mails, directly or indirectly, negligently

   obtained money or property by means of untrue statements of material facts and omissions to

  state material facts necessary in order to make the statements made, in the light of the

  circumstances under which they were made, not misleading.




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          48.     By reason of the foregoing, PHH, SARC, and Walsh violated and, unless

   enjoined, are reasonably likely to continue to violate Section 17(a)(2) of the Securities Act,

   15 U.S.C. § 77q(a)(2).

                                              Count III
                         Violations of Section 17(al("3) of the Securities Act
                            (Against PHH,SARC,Walsh, and Matthews)

          49.     The Commission repeats and realleges paragraphs 1 through 42 of this Complaint.

          50.    From no later than November 2012 through March 2015, PHH, SARC, Walsh,

   and Matthews, in the offer or sale of securities by use of any means or instruments of

   transportation or communication in interstate commerce or by use of the mails, directly or

   indirectly, negligently engaged in transactions, practices, or courses of business which operated

   or would have operated as a fraud or deceit.

          51.    By reason of the foregoing, PHH, SARC, Walsh, and Matthews violated and,

   unless enjoined, are reasonably likely to continue to violate Section 17(a)(3) of the Securities

   Act, 15 U.S.C. §77q(a)(3).

                                               Count IV
                Violations of Section lOtb) and Rule 10b-5fa> of the Exchange Act
                            (Against PHH,SARC, Walsh, and Matthews)

          52.     The Commission repeats and realleges paragraphs 1 through 42 of this Complaint.

          53.     From no later than November 2012 through March 2015, PHH, SARC, Walsh,

   and Matthews, directly and indirectly, by use of any means or instrumentality of interstate

   commerce, or of the mails, knowingly or recklessly employed any device, scheme or artifiee to

   defraud in connection with the purchase or sale of any security.

          54.     By reason of the foregoing, PHH, SARC, Walsh, and Matthews violated and,

   unless enjoined, are reasonably likely to continue to violate Section 10(b) of the Exchange Act,

   15 U.S.C. § 78j(b), and Exchange Act Rule 10b-5(a), 17 C.F.R. § 240.1 Ob-5(a).


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                                               Count V
                Violations of Section lOtb) and Rule 101>-5fh) of the Exchange Act
                                 (Against I'HH. SARC. and Walsh)

          55.     The Commission repeats and realleges paragraphs 1 through 42 of this Complaint.

          56.    From no later than November 2012 through March 2015, PHH, SARC, and

   Walsh, directly and indirectly, by use of any means or instrumentality of interstate commerce, or

   of the mails, knowingly or recklessly made untrue statements of material facts or omitted to state

   material facts necessary in order to make the statements made, in light of the circumstances

  imder which they were made, not misleading in connection with the purchase or sale of any

   security.

          57.    By reason of the foregoing, PHH, SARC, and Walsh violated and, unless

   enjoined, are reasonably likely to continue to violate Section 10(b) of the Exchange Act,

   15 U.S.C. § 78j(b), and Exchange Act Rule I0b-5(b), 17 C.F.R. § 240.10b-5(b).

                                              Count VI
                Violations of Section lQ(b) and Rule I0l)-5(c) of the Exchange Act
                           (Against PHH,SARC, Walsh,and Matthews)

          58.     The Commission repeats and realleges paragraphs I through 42 of this Complaint.

          59.    From no later than November 2012 through March 2015, PHH, SARC, Walsh,

  and Matthews, directly and indirectly, by use of any means or instrumentality of interstate

   commerce, or of the mails, in connection with the purchase or sale of any security, knowingly or

  recklessly engaged in acts, practices, and courses of business which operated or would have

   operated as a fraud or deceit upon any person.

          60.    By reason of the foregoing, PHH, SARC, Walsh, and Matthews violated and,

   unless enjoined, are reasonably likely to continue to violate Section 10(b) of the Exchange Act,

   15 U.S.C. § 78j(b), and Exchange Act Rule I0b-5(c), 17 C.F.R. § 240.l0b-5(c).




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                                               Count VII
                Aiding and Abettiim Violations of Section 17("a)(2) of the Securities Act
                                         (Against Matthews)

          61.      The Commission repeals and realleges paragraphs 1 through 42 of this Complaint.

          62.      From no later than November 2012 through March 2015, PHH, SARC, and

   Walsh, in the offer or sale of securities by use of any means or instruments of transportation or

  communication in interstate commerce or by use of the mails, directly or indirectly, negligently

   obtained money or property by means of untrue statements of material facts and omissions to

   state material facts necessary in order to make the statements made, in the light of the

  circumstances under which they were made, not misleading, and by reason of the foregoing

   violated Section 17(a)(2) of the Securities Act, 15 U.S.C. § 77q(a)(2).

          63.      From no later than November 2012 through August 2014, Matthews knowingly or

   recklessly provided substantial assistance to PHH, SARC, and Walsh's violations of Section

   17(a)(2) of the Securities Act, 15 U.S.C. § 77q(a)(2), and is in violation of this provision to the

  same extent as PHH,SARC,and Walsh.

          64.      By reason of the foregoing, Matthews aided and abetted, and unless enjoined, is

   reasonably likely to continue to aid and abet violations of Section 17(a)(2) of the Securities Act,

   15 U.S.C. §77q(a)(2).

                                              Count Vlll
     Aiding and Abetting Violations of Section lQ(b) and Rule 10b-5(h) of the Exchange Act
                                          (Against Matthews)

          65.      The Commission repeats and realleges paragraphs 1 through 42 of this Complaint.

          66.      From no later than November 2012 through March 2015, PHH, SARC, and

   Walsh, directly and indirectly, by use of any means or instrumentality of interstate commerce, or

  of the mails, knowingly or recklessly made untrue statements of material facts or omitted to state

   material facts necessary in order to make the statements made, in light of the circumstances


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   under which they were made, not misleading in connection with the purchase or sale of any

   security, and by reason of the foregoing violated Section 10(b) of the Exchange Act, 15 U.S.C. §

   78j(b), and Exchange Act Rule 10b-5(b), 17 C.F.R. § 240.10b-5(b).

          67.     From no later than November 2012 through August 2014, Matthews knowingly or

   recklessly provided substantial assistance to PHFI, SARC, and Walsh's violations of Section

   10(b) of the Exchange Act, 15 U.S.C. § 78j(b), and Exchange Act Rule 10b-5(b), 17 C.F.R.

   § 240.10b-5(b), and is in violation of these provisions to the same extent as PHH, SARC, and

   Walsh.


          68.     By reason of the foregoing, Matthews aided and abetted, and unless enjoined, is

   reasonably likely to continue to aid and abet violations of Section 10(b) of the Exchange Act,

   15 U.S.C. § 78j(b), and Exchange Act Rule 10b-5(b), 17 C.F.R. § 240.10b-5(b).

   VII.     RELIEF REQUESTED


            WHEREFORE, the Commission respectfully requests the Court find the Defendants

   committed the violations alleged, and:

            A.    Permanent Iniunctivc Relief

          Issue a Permanent Injunction restraining and enjoining Defendants, their officers, agents,

   servants, employees, attorneys, and all persons in active concert or participation with them, and

   each of them from violating the federal securities laws alleged in this Complaint.

            B.    Disgorgement

          Issue an Order directing Defendants and Relief Defendants to disgorge all ill-gotten

   gains, including prejudgment interest, resulting from the acts or courses of conduct alleged in

   this Complaint.




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          c.       Civil Penalty


          Issue an Order directing Defendants to pay civil money penalties pursuant to Section

   20(d)of the Securities Act, 15 U.S.C. § 77t(d}, and Section 21(d)of the Exchange Act, 15 U.S.C.

   § 78u(d).

          D.       Further Relief


          Grant such other and further relief as may be necessary and appropriate.

   VIII. RETENTION OF JURISDICTION

          The Commission respectfully requests that the Court retain jurisdiction over this action

   and over Defendants and Relief Defendants in order to implement and carry out the terms of all

   orders and decrees that it may enter, or to entertain any suitable petition or motion by the

   Commission for additional relief within the jurisdiction of this Court.

   IX.    DEMAND FOR JURY TRIAL


          Pursuant to Rule 38 of the federal Rules of Civil Procedure, Plaintiff demands trial by

  jury in this action of all issues so triable.


   Dated: August        2018                       Respect/C    submitted



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